        Case 1:12-cr-00068-JB-C Document 473 Filed 02/23/15 Page 1 of 1                                                     PageID #: 1971
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                     CEDRIC D. KENNEDY                                          &DVH1R       12-00032-CG & 12-00068-CG
                                                                                8601R 12561-003
'DWHRI2ULJLQDO-XGJPHQW         August 30, 2012
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
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IT IS ORDEREDWKDWWKHPRWLRQLV
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the last judgment issued)RI                     PRQWKVis reduced to                                      

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS
 Cedric Kennedy is not eligible for a reduction of sentence pursuant to the 2014 Amendment to the Drug Guidelines. At
 the time of sentencing, the defendant was subject to a statutory mandatory minimum sentence of 60 months as to
 counts 1 and 3 of case number 12-00032 and count 30 of case number 12-00068. Upon imposition of sentence,
 Kennedy received a sentence of 51 months as to the drug violation counts: 1 in 12-00032 and 30 in 12-00068, which fell
 below the statutory minimum of 60 months. As the sentence was not imposed pursuant to a 3553(e) motion, he is not
 entitled to any additional reduction in sentence, as his actual guideline range remains 60 months as to those counts of
 conviction.




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IT IS SO ORDERED
                                                                    Callie V.S. Granade                        Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                               DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                               Government, ou=Federal Judiciary,

2UGHU'DWH             February 23, 2015                           U.S. District Judge                        email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                               Date: 2015.02.23 08:54:47 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH                                                                              United States District Judge
                     (if different from order date)                                                Printed name and title
